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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

LUMINATI NETWORKS LTD.                           §
                                                 §
                   Plaintiff,                    §           Case No. 2:18-CV-00483-JRG
                                                 §
       v.                                        §
                                                 §
BI SCIENCE, INC.,                                §
                                                 §
                   Defendant.
                                                 §

                       NOTICE OF ACTION IN RELATED MATTER

       Plaintiff Bright Data Ltd. herby notifies the Court and attaches hereto a copy of an

uncertified translation of an August 19, 2021 Application for Instructions filed by the Receiver,

Adv. Ziv Ironi in the matter of Bright Data Ltd. (formerly Luminati Networks Ltd.) v. B.I. Science

(2009) Ltd. in the Execution Office in Tel Aviv – Jaffa, Israel.


 Dated: August 19, 2021                              Respectfully submitted,

                                                     By: /s/ Ronald Wielkopolski
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                                CERTIFICATE OF SERVICE



        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 19th day of August 2021, with a copy of this document via email.




                                             /s/ Ronald Wielkopolski



             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document is being filed under seal pursuant to the

Protective Order entered in this matter.


                                             /s/ Ronald Wielkopolski




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